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                                          ORDERED.


    Dated: November 14, 2018




                                 UNITED STATES BANKRUPTCY COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                        ORLANDO DIVISION
                                        www.flmb.uscourts.gov

    In re                                               )
                                                        )
    SUSAN DAWN HARRISON,                                )          Case No. 6:10-bk-19511-KSJ
                                                        )          Chapter 7
                   Debtor.                              )
                                                        )




                   ORDER OVERRULING DEBTOR’S OBJECTION TO
               CHAPTER 7 TRUSTEE’S APPLICATION FOR COMPENSATION

            This case came before the Court on November 1, 2018, to consider the Chapter 7

Trustee’s Application for Compensation and the Debtor’s Objection to Application.1 The Court

reviewed the Application, the Objection, and the corresponding statute 11 U.S.C. § 326.2 A

Chapter 7 Trustee’s compensation is calculated according to a formula outlined in the statute




1
  Doc. Nos. 87, 88.
2
  The Chapter 7 Trustee’s compensation is dictated by statute: “(a) In a case under chapter 7 or 11, the court may
allow reasonable compensation under section 330 of this title of the trustee for the trustee’s services, payable after
the trustee renders such services, not to exceed 25 percent on the first $5,000 or less, 10 percent on any amount in
excess of $5,000 but not in excess of $50,000, 5 percent on any amount in excess of $50,000 but not in excess of
$1,000,000, and reasonable compensation not to exceed 3 percent of such moneys in excess of $1,000,000, upon all
moneys disbursed or turned over in the case by the trustee to parties in interest, excluding the debtor, but including
holders of secured claims.” 11 U.S.C. § 326(a).


                                                            1
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based on the money disbursed by the Trustee to parties in interest, excluding the Debtor.3 The

Chapter 7 Trustee, Marie Henkel, is entitled to compensation calculated on the full $1.2 million

collected, minus the monies that were paid to the Debtor out of the settlement ($524,151.65) and

that will be paid to the Debtor after all other claims are paid ($12,808.77). Debtor objects

primarily to increase the monies paid to her but advances no cogent reason why the Chapter 7

Trustee is not entitled to the full statutory compensation allowed by 11 U.S.C. § 326.

Accordingly, it is

          ORDERED:

          1. Debtor’s Objection to Application (Doc. No. 88) is OVERRULED.

          2. The Chapter 7 Trustee is entitled to her full statutorily allowed compensation of

             $36,401.98.

                                               ###

Trustee, Marie Henkel, is directed to serve a copy of this order




3
    Id.


                                                 2
